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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: : Chapter 11
Energy Future Holdings Corp.,etal. —: Case No.: 14-10979 (CSS)
; Jointly Administered
Debtors. ; Re: Docket No.: 1676
ORDER

Upon consideration of Motion of EFH Notes Indenture Trustee Pursuant to 11
US.C. §§ 1102(a)(1) and 105 for Appointment of an Official Committee of Unsecured
Creditors for Energy Future Holdings Corp., [D.I. 1676] filed on July 23, 2014 (the
“Motion”); the Court having reviewed the Motion and the objections thereto; the Court
having heard the statements of counsel and parties in interest regarding the Motion at a
hearing before the Court on August 13, 2014 and September 16, 2014 (the “Hearings”);
the Court having found that (i) the Court has jurisdiction over this matter pursuant to 28
U.S.C. §§ 157 and 1334, (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), (iii)
notice of the Motion and the Hearings were sufficient notice under the circumstances;
and (iv) the Court has judicial power to enter a final order.

IT IS HEREBY ORDERED THAT, for the reasons set forth on the record at the

Hearings, the Motion is denied without prejudice as moot.

(Ge-—

Christopher S. Sontchi
United States Bankruptcy Judge

Date: September 16, 2014

 

 
